Case 2:04-cv-02921-tmp Document 22 Filed 06/23/05 Pagelof4 Pagey£?/z[
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IN THE UNITED sTATEs DISTRICT coURT US`HH§23 AH1013!
FoR THE wEsTERN DISTRICT oF TENNESSEE
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C?_E."§`:i--‘\`, U.S. DEST. CT.
mh nfl T'M_ MFMPH!S

UNITED STATES OF .AMERICA,
Plaintiff,

Civ. No. 04-2921-M1[P

VB.

NINE THOUSAN'D FOUR HU'NDRED
FORTY DOLLARS ($9 , 440 . 00) IN
UNITED STATES CURRENCY, et
al.,

Defendants.

 

ORDER DENYING DEFENDANT'S MOTION TO LIFT STAY OF ALL PROCEEDINGS
PENDING THE OUTCOME OF RELATED CRIMINAL CASE

 

Before the court is defendant’s Motion to Lift Stay of All
Proceedings Pending the Outcome of Related Criminal Case, filed
June 2, 2005 (dkt #19).

On March 22, 2005, this court granted the Government's motion
to stay the proceedings in that this cause was “related to the
underlying criminal prosecution” in U.S. v. Brandon Williams, No.
04~20422-B. This court stayed this matter “until resolution.of the
underlying criminal prosecution.” The criminal prosecution has not
yet been resolved, as the defendant in U.S. v. Brandon Williams has

not yet been sentenced.

"|'his document entered on the docket sheet in compliance
with Hule 58 and/or 79(3) FRCP 0n ' '

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Therefore, defendant’s motion is DENIED, without prejudice.
Defendant may renew her motion after sentencing.

IT IS SO ORDERED.

\A/\/

TU M. PHAM‘
United States Magistrate Judge

':\`\.)w. 115 amf

Date

  

UNITED sTATES DISTIC COURT - WESTERN D"'CTRT 0 TESSEE

 
 

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June 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

 

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